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10                            UNITED STATES DISTRICT COURT

11                                    DISTRICT OF NEVADA

12   KALSHIEX, LLC,                                 Case No. 2:25-cv-00575-APG-BNW

13            Plaintiff,

14   vs.
                                                         DEFENDANTS’ ANSWER
15   KIRK D. HENDRICK, in his official               TO COMPLAINT FOR PERMANENT
     capacity as Chairman of the Nevada                    INJUNCTION AND
16   Gaming Control Board; GEORGE ASSAD,                 DECLARATORY RELIEF
     in his official capacity as a Member of the
17   Nevada Gaming Control Board;
     CHANDENI K. SENDALL, in her official
18   capacity as a Member of the Nevada
     Gaming Control Board; NEVADA
19   GAMING CONTROL BOARD; JENNIFER
20   TOGLIATTI, in her official capacity as
     Chair of the Nevada Gaming Commission;
21   ROSA SOLIS-RAINEY, in her official
     capacity as a Member of the Nevada
22   Gaming Commission; BRIAN KROLICKI,
     in his official capacity as a Member of the
23   Nevada Gaming Commission; GEORGE
     MARKANTONIS, in his official capacity as
24   a Member of the Nevada Gaming
     Commission; ABBI SILVER, in her official
25   capacity as a Member of the Nevada
     Gaming Commission; NEVADA GAMING
26   COMMISSION; AARON D. FORD, in his
     official capacity as Attorney General of
27   Nevada,

28            Defendant(s).



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1               DEFENDANTS’ ANSWER TO COMPLAINT FOR PERMANENT
                      INJUNCTION AND DECLARATORY RELIEF
2

3          Defendants, KIRK D. HENDRICK, in his official capacity as Chairman of the

4    Nevada Gaming Control Board; GEORGE ASSAD, in his official capacity as a Member of

5    the Nevada Gaming Control Board, CHANDENI K. SENDALL, in her official capacity as

6    a Member of the Nevada Gaming Control Board; NEVADA GAMING CONTROL BOARD;

7    JENNIFER TOGLIATTI, in her official capacity as Chair of the Nevada Gaming

8    Commission, ROSA SOLIS-RAINEY, in her official capacity as a Member of the Nevada

9    Gaming Commission; BRIAN KROLICKI, in his official capacity as a Member of the

10   Nevada Gaming Commission, GEORGE MARKANTONIS, in his official capacity as a

11   Member of the Nevada Gaming Commission; ABBI SILVER, in her official capacity as a

12   Member of the Nevada Gaming Commission; NEVADA GAMING COMMISSION; and

13   AARON D. FORD, in his official capacity as Attorney General of Nevada (collectively

14   “Defendants”), by and through their attorneys of record, answer Plaintiff’s Complaint for

15   Injunction and Declaratory Relief as follows:

16                                      INTRODUCTION

17         1.     Defendants admit that the Nevada Gaming Control Board (“NGCB”) and the

18   Nevada Gaming Commission (“NGC”) seek to prevent Plaintiff KalshiEX, LLC (“Kalshi”)

19   from offering sports- and political-event wagering contracts in Nevada. Defendants deny

20   the remaining allegations of this paragraph.

21         2.     Defendants admit that, in 1936, Congress passed the Commodity Exchange

22   Act (“CEA”), which enacted a federal regulatory framework for derivatives, and that in

23   1974, Congress established a federal agency called the CFTC to oversee it. Defendants deny

24   the remaining allegations of this paragraph.

25         3.     The allegations of this paragraph contain legal conclusions, to which no

26   response is required. To the extent a response is required, Defendants deny the allegations

27   of this paragraph.

28   ///



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1          4.     The allegations of this paragraph contain legal conclusions, to which no
2    response is required. To the extent a response is required, Defendants deny the allegations
3    of this paragraph.
4          5.     Defendants deny that the NGCB and NGC are “threatening to intrude on the
5    comprehensive federal scheme for regulated designated exchanges.” The remaining
6    allegations of this paragraph contain legal conclusions, to which no response is required.
7    To the extent a response is required, Defendants lack knowledge sufficient to form a belief
8    about the truth of the remaining allegations of this paragraph and therefore deny the same.
9          6.     The allegations of this paragraph contain legal conclusions, to which no
10   response is required. To the extent a response is required, Defendants deny the allegations
11   of this paragraph.
12         7.     Defendants lack knowledge sufficient to form a belief about the truth of the
13   allegations of this paragraph and therefore deny the same.
14         8.     Defendants deny the allegations of this paragraph.
15         9.     The allegations of this paragraph contain legal conclusions, to which no
16   response is required. To the extent a response is required, Defendants admit that Kalshi
17   filed a motion for temporary restraining order/preliminary injunction concurrently with the
18   filing of the Complaint but lack knowledge sufficient to form a belief about the truth the
19   remaining allegations of this paragraph and therefore deny the same.
20                               JURISDICTION AND VENUE
21         10.    This paragraph contains legal conclusions, to which no response is required.
22   To the extent a response is required, Defendants admit the allegations of this paragraph.
23         11.    This paragraph contains legal conclusions, to which no response is required.
24   To the extent a response is required, Defendants deny the allegations of this paragraph.
25         12.    This paragraph contains legal conclusions, to which no response is required.
26   To the extent a response is required, Defendants admit the allegations of this paragraph.
27   ///
28   ///



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1                                           PARTIES
2          13.   Defendants lack knowledge sufficient to form a belief about the truth of the
3    allegations of this paragraph and therefore deny the same.
4          14.   Defendants admit the allegations of this paragraph, with the qualification
5    that, on June 23, 2025, Mike Dreitzer assumed the office of Chairman of the Nevada
6    Gaming Control Board.
7          15.   Defendants admit the allegations of this paragraph.
8          16.   Defendants admit the allegations of this paragraph.
9          17.   Defendants deny the allegations of this paragraph.
10         18.   Defendants admit the allegations of this paragraph.
11         19.   Defendants admit the allegations of this paragraph.
12         20.   Defendants admit the allegations of this paragraph.
13         21.   Defendants admit the allegations of this paragraph.
14         22.   Defendants admit the allegations of this paragraph.
15         23.   Defendants deny the allegations of this paragraph.
16         24.   Defendants admit the allegations of this paragraph.
17                                 FACTUAL ALLEGATIONS

18         25.   Defendants lack knowledge sufficient to form a belief about the truth of the
19   allegations of this paragraph and therefore deny the same.
20         26.   Defendants admit that event contracts are traded on an exchange and that
21   traders exchange positions with other traders in the marketplace. Defendants lack
22   knowledge sufficient to form a belief about the truth of the remaining allegations of this
23   paragraph and therefore deny the same.
24         27.   Defendants lack knowledge sufficient to form a belief about the truth of the
25   allegations of this paragraph and therefore deny the same.
26         28.   Defendants lack knowledge sufficient to form a belief about the truth of the
27   allegations of this paragraph and therefore deny the same.
28   ///



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1          29.    Defendants lack knowledge sufficient to form a belief about the truth of the
2    allegations of this paragraph and therefore deny the same.
3          30.    Defendants lack knowledge sufficient to form a belief about the truth of the
4    allegations of this paragraph and therefore deny the same.
5          31.    Defendants lack knowledge sufficient to form a belief about the truth of the
6    allegations of this paragraph and therefore deny the same.
7          32.    Defendants admit that futures contracts have been regulated by the federal
8    government and that, in 1936, Congress passed the CEA. The remaining allegations of this
9    paragraph contain legal conclusions, to which no response is required. To the extent a
10   response is required, Defendants deny the allegations of this paragraph.
11         33.    Defendants admit that, in 1974, Congress established the CFTC as the federal
12   agency empowered to oversee and regulate exchanges under the CEA. The remaining
13   allegations of this paragraph contain legal conclusions, to which no response is required.
14   To the extent a response is required, Defendants deny the allegations of this paragraph.
15         34.    The allegations of this paragraph contain legal conclusions, to which no
16   response is required. To the extent a response is required, Defendants deny the allegations
17   of this paragraph.
18         35.    The allegations of this paragraph contain legal conclusions, to which no
19   response is required. To the extent a response is required, Defendants deny the allegations
20   of this paragraph.
21         36.    The allegations of this paragraph contain legal conclusions, to which no
22   response is required. To the extent a response is required, Defendants deny the allegations
23   of this paragraph.
24         37.    The allegations of this paragraph contain legal conclusions, to which no
25   response is required. To the extent a response is required, Defendants deny the allegations
26   of this paragraph.
27   ///
28   ///



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1          38.    The allegations of this paragraph contain legal conclusions, to which no
2    response is required. To the extent a response is required, Defendants deny the allegations
3    of this paragraph.
4          39.    The allegations of this paragraph contain legal conclusions, to which no
5    response is required. To the extent a response is required, Defendants lack knowledge
6    sufficient to form a belief about the truth of the remaining allegations of this paragraph
7    and therefore deny the same.
8          40.    The allegations of this paragraph contain legal conclusions, to which no
9    response is required. To the extent a response is required, Defendants lack knowledge
10   sufficient to form a belief about the truth of the remaining allegations of this paragraph
11   and therefore deny the same.
12         41.    Defendants admit that, in 2010, Congress amended the CEA. The remaining
13   allegations of this paragraph contain legal conclusions, to which no response is required.
14   To the extent a response is required, Defendants deny the allegations of this paragraph.
15         42.    Defendants lack knowledge sufficient to form a belief about the truth of the
16   allegations of this paragraph and therefore deny the same.
17         43.    Defendants lack knowledge sufficient to form a belief about the truth of the
18   allegations of this paragraph and therefore deny the same.
19         44.    Defendants lack knowledge sufficient to form a belief about the truth of the
20   allegations of this paragraph and therefore deny the same.
21         45.    Defendants admit the allegations of this paragraph.
22         46.    Defendants lack knowledge sufficient to form a belief about the truth of the
23   allegations of this paragraph and therefore deny the same.
24         47.    Defendants lack knowledge sufficient to form a belief about the truth of the
25   allegations of this paragraph and therefore deny the same.
26         48.    Defendants lack knowledge sufficient to form a belief about the truth of the
27   allegations of this paragraph and therefore deny the same.
28   ///



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1            49.   Defendants lack knowledge sufficient to form a belief about the truth of the
2    allegations of this paragraph and therefore deny the same.
3            50.   Defendants lack knowledge sufficient to form a belief about the truth of the
4    allegations of this paragraph and therefore deny the same.
5            51.   This paragraph contains legal conclusions, to which no response is required.
6    To the extent a response is required, Defendants lack knowledge sufficient to form a belief
7    about the truth of the allegations of this paragraph and therefore deny the same.
8            52.   This paragraph contains legal conclusions, to which no response is required.
9    To the extent a response is required, Defendants lack knowledge sufficient to form a belief
10   about the truth of the allegations of this paragraph and therefore deny the same.
11           53.   Defendants lack knowledge sufficient to form a belief about the truth of the
12   allegations of this paragraph and therefore deny the same.
13           54.   Defendants lack knowledge sufficient to form a belief about the truth of the
14   allegations of this paragraph and therefore deny the same.
15           55.   This paragraph purports to quote from a document, which speaks for itself.
16   Defendants deny any allegation that is inconsistent with the document. Defendants admit
17   the remaining allegations of this paragraph.
18           56.   This paragraph purports to quote from a document, which speaks for itself.
19   Defendants deny any allegation that is inconsistent with the document. Defendants admit
20   the remaining allegations of this paragraph.
21           57.   This paragraph purports to quote from a document, which speaks for itself.
22   Defendants deny any allegation that is inconsistent with the document. Defendants admit
23   the remaining allegations of this paragraph.
24           58.   Defendants deny the allegations of this paragraph.
25           59.   Defendants admit that, on or about March 13, 2025, the Nevada authorities
26   extended the deadline to respond to the cease-and-desist letter by two weeks, to March 28,
27   2025.
28   ///



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1          60.    Defendants admit that, on March 28, 2025, Kalshi failed to convince the
2    Nevada authorities that Kalshi’s event contracts in Nevada were lawful. Defendants admit
3    that Kalshi filed its complaint the same day. Defendants deny the remaining allegations of
4    this paragraph.
5                                   REQUESTS FOR RELIEF
6          61.    Defendants deny the allegations of this paragraph.
7          62.    Defendants admit that an actual and substantial legal controversy exists
8    between Plaintiff and Defendants. The remaining allegations of this paragraph contain
9    legal conclusions, to which no response is required. To the extent a response is required,
10   Defendants deny the remaining allegations of this paragraph.
11         63.    Defendants admit that, through its Complaint, Plaintiff seeks declaratory and
12   injunctive relief restraining Defendants from enforcing Nevada law. The remaining
13   allegations of this paragraph contain legal conclusions, to which no response is required.
14   To the extent a response is required, Defendants deny the remaining allegations of this
15   paragraph.
16                                  COUNT I
             (Supremacy Clause—Preemption by Commodities Exchange Act)
17

18         64.    Defendants incorporate all prior paragraphs by reference.

19         65.    This paragraph purports to quote from a document, which speaks for itself.

20   Defendants deny any allegation that is inconsistent with the document. Defendants admit

21   the remaining allegations of this paragraph.

22         66.    The allegations of this paragraph contain legal conclusions, to which no

23   response is required. To the extent a response is required, Defendants deny the allegations

24   of this paragraph.

25         67.    The allegations of this paragraph contain legal conclusions, to which no

26   response is required. To the extent a response is required, Defendants deny the allegations

27   of this paragraph.

28   ///



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1          68.    The allegations of this paragraph contain legal conclusions, to which no
2    response is required. To the extent a response is required, Defendants deny the allegations
3    of this paragraph.
4          69.    The allegations of this paragraph contain legal conclusions, to which no
5    response is required. To the extent a response is required, Defendants deny the allegations
6    of this paragraph.
7          70.    The allegations of this paragraph contain legal conclusions, to which no
8    response is required. To the extent a response is required, Defendants deny the allegations
9    of this paragraph.
10                                  AFFIRMATIVE DEFENSES

11         1.     The Complaint fails to properly name the State of Nevada pursuant to NRS

12   41.031(2) and therefore is void ab initio for failure to invoke the subject matter jurisdiction

13   of this Court.

14         2.     Plaintiff failed to effectuate proper service on Defendants pursuant to NRS

15   41.031(2).

16         3.     The Complaint fails to state a claim upon which relief can be granted.

17         4.     Plaintiff’s claim is barred, in whole or in part, by Eleventh Amendment

18   immunity.

19         5.     Plaintiff’s claim is barred, in whole or in part, by official act immunity.

20         6.     Plaintiff’s claim is barred, in whole or in part, by discretionary act immunity.

21         7.     Plaintiff’s claim is barred by the Tenth Amendment.

22         8.     Plaintiff’s claim is barred by the doctrine of judicial estoppel.

23         9.     Plaintiff’s claim is barred by the doctrine of collateral estoppel.

24         10.    Plaintiff’s claim is barred by the doctrine of unclean hands.

25         11.    Plaintiff cannot show that it will suffer irreparable harm.

26         12.    Plaintiff has failed to mitigate any alleged harm.

27   ///

28   ///



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1           13.   Congress did not intend to preempt state gaming laws with the enactment of

2    the Commodity Exchange Act.

3           14.   Nevada State Gaming Laws do not conflict with the Commodity Exchange

4    Act.

5           15.   The presumption against preemption in areas traditionally regulated by the

6    states bars Plaintiff’s claim.

7           16.   Defendants incorporate and assert any and all affirmative defenses advanced

8    by Intervenors in this action.

9           17.   Defendants incorporate and assert the affirmative defenses enumerated in

10   Rule 8 of the Federal Rules of Civil Procedure.

11          18.   All possible affirmative defenses may not have been alleged herein insofar as

12   sufficient facts were not available for Defendants after reasonable inquiry, and, therefore,

13   Defendants reserve the right to amend their Answer to allege additional affirmative

14   defenses if subsequent investigation so warrants.

15                                    PRAYER FOR RELIEF

16          WHEREFORE, Defendants respectfully request:
17          1.    That Plaintiff takes nothing by way of their Complaint;
18          2.    That Plaintiff’s Complaint be dismissed in its entirety with prejudice; and
19          3.    For such other and further relief as this Court deems just and proper.
20          DATED this 1st day of July, 2025.
21                                          AARON D. FORD
                                            Attorney General
22
                                            By: /s/ Jessica E. Whelan
23                                             Jessica E. Whelan (Bar No. 14781)
                                                Chief Deputy Solicitor General - Litigation
24                                             Sabrena K. Clinton (Bar No. 6499)
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28



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